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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                       )
                                                )
                       Plaintiff,               )                      4:08CR3026
                                                )
               V.                               )
                                                )
CARLOS LOVERBOY SILVA,                          )           MEMORANDUM AND ORDER
                                                )
                       Defendant.               )
                                                )


         The defendant may be entitled to a reduction in sentence pursuant to 18 U.S.C. § 3582(c)(2)
and General Order 2014-06 (“IN THE MATTER OF THE CASES WHERE MOTIONS TO
AMEND SENTENCES PURSUANT TO AMENDMENT 782 IN APPENDIX C TO THE
SENTENCING GUIDELINES MANUAL MAY BE FILED”). The defendant should understand
that I have made no determination whether the defendant is covered by the Amendment or whether
the defendant, if covered by the Amendment, should be given a reduction. Those questions are yet
to be determined. With the foregoing in mind,


       IT IS ORDERED that:


       1.      Treated as a motion, filing 168 is held in abeyance pending the subsequent resolution
               contemplated by this order.
       2.      The Federal Public Defender (or his nominee) is herewith appointed to represent the
               defendant. The Clerk’s office shall provide the Federal Public Defender and the
               defendant with a copy of this order. Appointed counsel shall promptly enter an
               appearance.
       3.      No later than October 20, 2014, the probation office shall file as a restricted (but not
               sealed) document and provide the undersigned and counsel of record with a
               “Retroactive Sentencing Worksheet.” If the officer requires additional time, a
               request may be made to the undersigned by e-mail. The Clerk’s office shall provide
               Mike Norton, Supervisory United States Probation Officer, with a copy of this
               Memorandum and Order.
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     4.    No later than November 19, 2014, counsel of record shall confer and do one of the
           following:
           A.     File a stipulation signed by both counsel containing the following
                  provisions: (i) an agreement that the defendant is eligible for a
                  sentence reduction pursuant to 18 U.S.C. § 3582(c) and U.S.S.G. §
                  1B1.10; (ii) an agreement that the defendant may be resentenced
                  without being present and without further notice; and (iii) an
                  agreement regarding the recommended sentence.
           B.     In lieu of the stipulation provided in paragraph A, counsel for the
                  government shall contact my judicial assistant and arrange a
                  telephone conference with the undersigned and counsel for the
                  defendant so that further progression of this case may be scheduled.


     August 20, 2014.

                                        BY THE COURT:

                                        Richard G. Kopf
                                        Senior United States District Judge




                                           2
